        Case 3:17-cv-00293-LRH-VPC Document 45 Filed 04/23/18 Page 1 of 2


Luke Andrew Busby, Ltd. 
Nevada State Bar No. 10319 
316 California Ave. 82 
Reno, NV 89509 
775-453-0112 
luke@lukeandrewbusbyltd.com 
Attorney for the Plaintiff 
 
 
                               UNITED STATES DISTRICT COURT  
                                       DISTRICT OF NEVADA  
                                                    
    JAMES O’DOAN,                                         
                                                          
                      Plaintiff(s),                       
               vs.                                        
                                                          
    RENO POLICE OFFICER JOSHUA                           Case No. 3:17-cv-00293-LRH-VPC   
    SANFORD, RENO POLICE                                  
    OFFICER CADE LEAVITT, and                            NOTICE OF CORRECTED 
    THE CITY OF RENO, a political                        EXHIBITS 
                                                          
    subdivision of the State of Nevada; and 
                                                          
    JOHN DOES I through X, inclusive 
     
                 Defendant(s). 
    ________________________________/ 

 
         
            The Plaintiff, by and through the undersigned counsel, hereby provides the following 

Notice of Corrected Exhibits to the Plaintiff’s Response in Opposition to the Motion for 

Summary Judgment (Doc #42). In the original filing, Exhibits 13 to 23 to the Response were 

omitted, and are provided here.  

            /// 

            /// 

            /// 



                                                                                                    1
      Case 3:17-cv-00293-LRH-VPC Document 45 Filed 04/23/18 Page 2 of 2


            Respectfully submitted this April 23, 2018.  

                                                           By: __________________________ 
                                                           Luke Busby 
                                                           Nevada State Bar No. 10319 
                                                           316 California Ave. 82  
                                                           Reno, NV 89509 
                                                           775-453-0112 
                                                           luke@lukeandrewbusbyltd.com 
                                                           Attorney for the Plaintiffs 
                                                        
 
                                    CERTIFICATE OF SERVICE 

       I  hereby  certify  that  on  April  23,  2018,  I  electronically  transmitted  the  foregoing 

pleading  to  document  to  the  Clerk’s  Office  using  the  CM/ECF  System  for  filing  and 

transmittal  of  a  Notice  of  Electronic  Filing  to  all  counsel  registered  to  receive  Electronic 

Filings  and/or  I  mailed  the  foregoing  pleading  to  the  address  below  by  US  Mail  postage 

prepaid, and/or I hand delivered the foregoing to:  

Reno City Attorney 
Attn: Mark Hughs  
1 East First St.  
Reno, Nevada 89501 
Attorney for the Defendants 
 
 
By: ______________________________ 
Luke Busby  
 
 
 




                                                                                                        2
